                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 1 of 19 Page ID #:1813




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                                                                                     UNITED STATES DISTRICT COURT
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                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                          15
                                                                                            WESTERN DIVISION
                                                          16
                                                          17
                                                          18    SECURITIES AND EXCHANGE                      Case No. 18-cv-4315 DSF (JPRx)
                                                          19    COMMISSION,
                                                                                                             RECEIVER’S NOTICE OF MOTION
                                                          20                 Plaintiff,                      AND MOTION FOR APPROVAL OF
                                                                                                             CLAIMS PROCESS AND BAR DATE;
                                                          21           vs.                                   [PROPOSED] ORDER
                                                          22    TITANIUM BLOCKCHAIN
                                                          23    INFRASTRUCTURE SERVICES,                     Date:    August 31, 2020
                                                                INC.; EHI INTERNETWORK AND                   Time:    1:30
                                                          24    SYSTEMS MANAGEMENT, INC.                     Ctrm:    7D
                                                                aka EHI-INSM, INC.; and MICHAEL              Judge:   Hon. Dale S. Fischer
                                                          25    ALAN STOLLERY aka MICHAEL
                                                                STOLLAIRE,
                                                          26
                                                          27                 Defendants.

                                                          28

                                                                   RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 2 of 19 Page ID #:1814




                                                          1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                          2          PLEASE TAKE NOTICE that on Monday, August 31, 2020, at 1:30 p.m., or as
                                                          3    soon thereafter as the matter may be heard before the Honorable Dale S. Fischer, in
                                                          4    Courtroom 7D of the United States District Court, Central District of California,
                                                          5    Western Division, 350 West 1st Street, 6th Floor, Los Angeles, California, 90012, Josias
                                                          6    N. Dewey, as Court-appointed Receiver (the “Receiver”) for the estate of Defendant
                                                          7    Titanium Blockchain Infrastructure Services, Inc. (“TBIS”), will and hereby does submit
                                                          8    this Motion for Approval of Claims Process and Proposed Bar Date (“Motion”).
                                                          9          This Motion is submitted pursuant to paragraph XI(H) of this Court’s Order
                                                          10   Appointing Permanent Receiver, entered May 30, 2018 (the “Permanent Receivership
                                                          11   Order”) (Dkt. 48) and Rule 66 of the Federal Rules of Civil Procedure. The Receiver
                                                          12   requests this Court’s approval for the Receiver’s proposed Claims Process, including the
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                                                          13   method by which the Receiver will provide notice to claimants, the method by which
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                                                          14   claimants may file claims, the methods by which the Receiver will determine eligible
                                                          15   and ineligible claims, and the date by which all claims are to be filed (the “Bar Date”).
                                                          16         This Motion is based upon this Notice of Motion and Motion, all papers and
                                                          17   records on file herein, and such other matters as may be presented to the Court at or
                                                          18   before the hearing on this Motion. This Motion is made following the conference of
                                                          19   counsel pursuant to L.R. 7-3 which took place on February 5, 2020.
                                                          20
                                                          21   Dated: July 28, 2020.                  Respectfully submitted,
                                                          22                                          /s/ Kristina S. Azlin
                                                          23                                          Kristina S. Azlin
                                                                                                      Jose Casal (pro hac vice)
                                                          24
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                                                                                                      Attorneys for Josias N. Dewey, Court-
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                                                                                                      appointed Receiver for TBIS
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 3 of 19 Page ID #:1815




                                                          1
                                                          2                                              TABLE OF CONTENTS
                                                                                                                                                                                       Page
                                                          3
                                                               I.      INTRODUCTION .......................................................................................... 1
                                                          4
                                                               II.     FACTUAL BACKGROUND OF THE TBIS INITIAL
                                                          5            COIN OFFERING .......................................................................................... 3
                                                          6    III.    DISCUSSION................................................................................................. 4
                                                          7            A.       Eligible Claimants should be creditors, those investors who acquired
                                                                                unregistered securities from TBIS and certain other investors who
                                                          8                     suffered a loss caused by TBIS’s fraud................................................ 5
                                                          9            B.       Internet-based electronic notice is fair, reasonable, and comports with
                                                                                due process for internet-based virtual token fraud victims. ................. 8
                                                          10
                                                                       C.       Internet-based Claim Submission is Appropriate for Internet-based
                                                          11                    Activities. ........................................................................................... 10
                                                          12           D.       Validating Claims Using Blockchain Transactional Information is
                                                                                Practicable, Efficient, and Accurate. .................................................. 11
                       400 South Hope Street, 8th Floor




                                                          13
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                                                                       E.       Claimants Should have the Opportunity to Object to Claim
                             Fax: 213.896.2450
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                                                          14                    Determinations. .................................................................................. 12
                                                          15           F.       Proposed timeline and 90-Day Claims Window. ............................... 13
                                                          16           G.       Distribution of Assets ......................................................................... 14
                                                          17   IV.     CONCLUSION ............................................................................................ 14
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                                                                                             i
                                                                     RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 4 of 19 Page ID #:1816




                                                          1                                              TABLE OF AUTHORITIES
                                                          2                                                                                                                            Page(s)
                                                          3
                                                               Federal Cases
                                                          4
                                                               Browning v. Yahoo! Inc.,
                                                          5       No. C04-01463, 2007 WL 4105971 (N.D. Cal. Nov. 16, 2007) .............................. 9
                                                          6
                                                               Dura Pharm., Inc. v. Broudo,
                                                          7      544 U.S. 336 (2005).................................................................................................. 5
                                                          8    Mullane v. Central Hanover Bank & Trust Co.,
                                                          9      339 U.S. 306 (1950).................................................................................................. 8
                                                          10   SEC v. Arisebank,
                                                                 No. 3:18-cv-00186-M, 2019 WL 1796170 (N.D.Tex. Jan. 29, 2019)
                                                          11
                                                                 and (N.D. Tex. Feb. 1, 2019) .....................................................................8-9, 11, 13
                                                          12
                                                               SEC v. Hardy,
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                                                                 803 F.2d 1034 (9th Cir. 1986) .............................................................................. 4, 5
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                                                          14
                                                               Other State Cases
                                                          15
                                                               Lundell v. Dell, Inc.,
                                                          16     No. CIVA C05-3970, 2006 WL 3507938 (N.D. Cal. Dec. 5, 2006)........................ 9
                                                          17
                                                               Federal Statutes
                                                          18
                                                               15 U.S.C.
                                                          19      § 77l .......................................................................................................................... 5
                                                          20      § 77l(a) ...................................................................................................................... 6
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                                                                                                ii
                                                                   RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 5 of 19 Page ID #:1817




                                                          1          RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND
                                                          2                                    PROPOSED BAR DATE
                                                          3           Pursuant to paragraphs XI(H) of this Court’s Order Appointing Permanent
                                                          4    Receiver, entered May 30, 2018 (the “Permanent Receivership Order”) (Dkt. 48), and
                                                          5    Rule 66 of the Federal Rules of Civil Procedure, Holland & Knight LLP (“Counsel” or
                                                          6    “H&K”), counsel to Josias N. Dewey, as Court-appointed Receiver (the “Receiver”) for
                                                          7    the estate of Defendant Titanium Blockchain Infrastructure Services, Inc. (“TBIS”),
                                                          8    hereby submits this Motion for Approval of Claims Process and Proposed Bar Date.
                                                          9    I.     INTRODUCTION
                                                          10          On May 22, 2018, the Securities and Exchange Commission brought an
                                                          11   emergency action for both securities fraud and the sale of unregistered securities against
                                                          12   TBIS and its subsidiaries and affiliates. (Dkt. 1.) As part of that action, and with the
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                                                          13   Defendants’ consent, the United States District Court for the Central District of
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                                                          14   California appointed Josias N. Dewey receiver for TBIS. (Dkt. 48; see also Dkt. 47.)
                                                          15          The Receiver took custody of TBIS’s assets and is presenting this plan as a
                                                          16   precursor to an interim distribution to TBIS’s victims of its securities fraud, victims of
                                                          17   its sale of unregistered securities, and other eligible creditors. The Receiver will seek
                                                          18   reimbursement of all reasonable administrative costs and expenses relating to the claims
                                                          19   process from receivership assets. The Receiver will make every effort to conserve
                                                          20   Receivership assets.
                                                          21          To that end, the virtual and online nature of this fraud presents opportunities for
                                                          22   efficiencies typically unavailable in conventional receiverships. The unregistered
                                                          23   securities at issue in this case are represented by virtual ERC-20 tokens that exist on the
                                                          24   public Ethereum blockchain network (the “Ethereum Network”). The Ethereum
                                                          25   Network is the decentralized transaction ledger on which Ether, one of the world’s most
                                                          26   popular cryptocurrencies, exists. Anyone acquiring an ERC-20 token must have control
                                                          27   over an Ethereum public address, which is somewhat analogous to a bank account
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                                                                    RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 6 of 19 Page ID #:1818




                                                          1    inasmuch as it is the transferee reference for transfers of Ether and ERC-20 tokens.
                                                          2    While it is technically possible for a transferee to acquire ERC-20 tokens without access
                                                          3    to the internet, both the act of transferring Ether or other digital assets (e.g., bitcoin) as
                                                          4    payment for the tokens and verifying receipt of the tokens require access the internet.
                                                          5    As such, it is reasonable to assume that all victims who acquired ERC-20 tokens likely
                                                          6    have access to the internet and have control over one or more Ethereum public address.
                                                          7    Moreover, because most victims purchased the TBIS tokens using virtual currencies, the
                                                          8    Receiver and Counsel can use blockchain transactional information to expedite the
                                                          9    claims validation process , and ultimately, to compensate eligible claimants sooner. For
                                                          10   those investors who did not purchase the TBIS tokens using a virtual currency and in
                                                          11   other cases where the Receiver reasonably believes appropriate, compensation will be
                                                          12   distributed using conventional paper checks.
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                                                          13         Under this proposal, costs are minimized by using an online claims process,
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                                                          14   automated blockchain-based claim validation, and, depending on market conditions and
                                                          15   the claimants’ preference, virtual asset funds distribution to reimburse validated
                                                          16   claimants. By this method, the Receiver can reduce administrative expenses, increase
                                                          17   claim processing speed, and distribute funds to victims in a fraction of the time when
                                                          18   compared to conventional processes.
                                                          19         The Receiver seeks the Court’s approval to:
                                                          20         a.     Define eligible claimants;
                                                          21         b.     Provide notice and claims process instructions to claimants via electronic
                                                          22                means;
                                                          23         c.     Accept claims by electronic means;
                                                          24         d.     Determine valid claim amounts;
                                                          25         e.     Handle objections to claim determinations; and
                                                          26         f.     Establish a Bar Date and claims process timeline.
                                                          27   A proposed order and examples of the proposed notice and claims form are attached. See
                                                          28
                                                                                                             2
                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 7 of 19 Page ID #:1819




                                                          1    Proposed Order; Exhibits A & B.
                                                          2    II.     FACTUAL BACKGROUND OF THE TBIS INITIAL COIN OFFERING
                                                          3            Numerous persons invested in TBIS’s “initial coin offering” (ICO). TBIS
                                                          4    conducted an unregistered offering of securities in the form of an ICO. The TBIS ICO
                                                          5    was held using the Ethereum Network to issue ERC-20 tokens; investors purchased
                                                          6    coins using either Ether, Bitcoin, other virtual currencies, or central bank-issued
                                                          7    currencies. Because of the blockchain’s pseudonymous nature, the victims’ transactions
                                                          8    are known but most victims’ identities are not. Over 21,000 unique addresses currently
                                                          9    hold tokens associated with the TBIS ICO.
                                                          10           TBIS issued its first virtual token, the Titanium Bar (“BAR”), during an ICO
                                                          11   between November 21, 2017 and February 19, 2018. TBIS represented that BAR would
                                                          12   be redeemable for future TBIS services—services purportedly still being developed.
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                                                          13   TBIS falsely represented that it had commercial relationships with many influential
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                                                          14   companies that would drive demand for these future TBIS services. TBIS claimed that
                                                          15   purchasers would see the value of BAR appreciate based on this demand for future TBIS
                                                          16   services. During the ICO, some buyers sold and transferred BAR to third parties.
                                                          17           On February 22, 2018, an unidentified party illicitly gained access to the virtual
                                                          18   assets raised by TBIS, transferring virtually all of the raised funds away from TBIS
                                                          19   control. In addition to the transfer of funds raised, the illicit transfers included a
                                                          20   substantial portion of the BAR tokens—approximately 18 million BAR—that TBIS had
                                                          21   held in reserve.
                                                          22           On the same day of the illicit funds transfer, TBIS announced their loss of control
                                                          23   over the BAR tokens and disclosed a plan to issue a second virtual token, replacing the
                                                          24   BAR (the “TBIS BAR disclamation announcement”). By this announcement, TBIS
                                                          25   disclaimed the BAR tokens, rendering them essentially valueless. The TBIS
                                                          26   announcement was widely reported on cryptocurrency news sites and online discussion
                                                          27   forums. TBIS did not reclaim the now-defunct BAR. Subsequent to the TBIS
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                                                                     RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 8 of 19 Page ID #:1820




                                                          1    announcement, BAR market prices dropped to nearly zero. BAR holders continued to
                                                          2    sell or transfer BAR to third parties, who were acquiring BAR despite the TBIS BAR
                                                          3    disclamation announcement.
                                                          4           TBIS gave the replacement coin, TBAR, to all holders of BAR. TBIS began to
                                                          5    issue and sell TBAR on February 23, 2018. Confusingly, TBIS continued to issue TBAR
                                                          6    to new BAR holders, even where people acquired the BAR well after TBIS disclaimed
                                                          7    the BAR tokens. TBIS continued to market its TBAR as worthy of acquisition. After
                                                          8    TBIS distributed the TBAR coin, some TBAR holders sold or transferred TBAR to third
                                                          9    parties.
                                                          10          On May 22, 2018, the SEC filed an emergency action against TBIS and other
                                                          11   related principals alleging securities fraud, the sale of unregistered securities, and other
                                                          12   violations of U.S. securities laws. The SEC made this action publicly known on May 29,
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                                                          13   2018 via press release and publishing on the SEC website (the “TBIS fraud disclosure”).
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                                                          14   Almost immediately, TBAR market prices dropped to nearly zero.
                                                          15   III.   DISCUSSION
                                                          16          The Receiver has come up with procedures for overseeing the administration of
                                                          17   claims of creditors, investors who acquired unregistered securities from TBIS and
                                                          18   certain investors otherwise harmed by TBIS’s fraud. The Receiver will be responsible
                                                          19   for reviewing and validating submitted claims. After the Receiver has reviewed and
                                                          20   validated submitted claims, he will submit a separate motion seeking approval for the
                                                          21   distribution of assets to claimants in amounts to be determined at a later date.
                                                          22          “[A] primary purpose of equity receiverships is to promote orderly and efficient
                                                          23   administration of the estate by the district court for the benefit of creditors.” SEC v.
                                                          24   Hardy, 803 F.2d 1034, 1038 (9th Cir. 1986). District judges have extremely broad
                                                          25   authority in determining appropriate administrative actions for equity receiverships,
                                                          26   including claims administration. Id at 1037–38. Reasonable and fair procedures in
                                                          27   administering claims are appropriate. Id. at 1038. However, “the rights of creditors of a
                                                          28
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                     Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 9 of 19 Page ID #:1821




                                                          1    receivership must be balanced against the need for expeditious administration of the
                                                          2    receivership; a district court in overseeing a receivership must ‘make rules which are
                                                          3    practicable as well as equitable.’” Id. at 1039 (quoting First Empire Bank-New York v.
                                                          4    FDIC, 572 F.2d 1361, 1368 (9th Cir. 1978)).
                                                          5       A.      Eligible Claimants should be creditors, those investors who acquired
                                                          6               unregistered securities from TBIS and certain other investors who
                                                          7               suffered a loss caused by TBIS’s fraud.
                                                          8            The Receiver proposes compensating TBIS’s creditors, those investors who
                                                          9    acquired unregistered securities from TBIS and certain other investors who suffered a
                                                          10   loss caused by TBIS’s fraud. TBIS’s creditors should be eligible claimants, subject to a
                                                          11   case-by-case determination of claim validity. As for victims of TBIS’s securities fraud,
                                                          12   securities fraud victims are those who suffered economic loss caused by
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                                                          13   misrepresentations. See Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 342–46 (2005).
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                                                          14   Determining loss causation depends on how the victim acquired the security. Initial
                                                          15   purchasers (from the issuer) benefit from a statutory presumption of loss causation. See
                                                          16   15 U.S.C. § 77l. Subsequent purchasers must have loss actually caused by
                                                          17   misrepresentations: courts will look at the value of the security if no misrepresentations
                                                          18   had been made, the purchase price and date, the sale price and date, and whether
                                                          19   disclosure of the fraud depressed the sale price. See Dura, 544 U.S. at 344–45. Thus,
                                                          20   subsequent Purchasers who do not purchase the security from the issuer and who sell
                                                          21   “before the relevant truth begins to leak out” are not victims of the fraud. Id. at 342.
                                                          22   Finally, unlike those investors whose loss arises solely from TBIS’s fraud, investors who
                                                          23   purchased unregistered securities from TBIS benefit from a statutory presumption of loss
                                                          24   causation. See 15 U.S.C. § 77l.
                                                          25           As a result of the presumption of loss causation being available to some investors
                                                          26   but not others, there should be two classes of investor claimants: (1) those induced into
                                                          27   purchasing BAR or TBAR, constituting unregistered securities, directly from TBIS
                                                          28
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 10 of 19 Page ID #:1822




                                                          1    (collectively, the “Direct Purchasers”), and (2) those who purchased BAR or TBAR
                                                          2    from someone other than TBIS (collectively, the “Secondary Market Purchasers”) at a
                                                          3    price inflated due to TBIS misrepresentations, and then who realized a loss in value
                                                          4    caused by the TBIS fraud disclosure.
                                                          5          As a class, Direct Purchasers are entitled to a presumption of loss generally based
                                                          6    on the difference between what they paid for the BAR or TBAR and the price they
                                                          7    obtained when they sold same, or if they have not sold their BAR or TBAR, the current
                                                          8    value of same., Accordingly, all Direct Purchasers should be eligible claimants because
                                                          9    they (in addition to potentially being victims of TBIS’s fraud) purchased an unregistered
                                                          10   security directly from its issuer and would benefit from a rescissionary measure of
                                                          11   damages. 15 U.S.C. § 77l(a). Direct Purchasers who sold their tokens should, however,
                                                          12   be limited to recovering actual damages; thereby excluding any Direct Purchasers who
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                                                          13   sold their tokens for more than the price they paid for same, after accounting for any
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                                                          14   reasonable and customary transactional costs.
                                                          15         On the other hand, the class
                                                          16   of Secondary Market Purchasers
                                                          17   must show that their loss was
                                                          18   caused by TBIS’s fraud. As a
                                                          19   result, those Secondary Market
                                                          20   Purchasers who sold prior to the
                                                          21   fraud disclosure—and who
                                                          22   suffered loss based on market price
                                                          23   fluctuations unrelated to any TBIS
                                                          24   misrepresentations—should not be
                                                          25   victims of the TBIS fraud. Based
                                                          26   on the foregoing principle,
                                                                                                       Figure 1: TBAR USD price chart.
                                                          27   Secondary Market Purchasers
                                                          28
                                                                                                          6
                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 11 of 19 Page ID #:1823




                                                          1    should be eligible claimants if they purchased prior to the TBIS fraud disclosure and
                                                          2    held through the TBIS fraud disclosure. The TBIS tokens were valueless, because TBIS
                                                          3    lacked the capabilities to develop the promised product for which the TBIS token would
                                                          4    have been used. Any non-zero market price was entirely due to the TBIS fraud. This
                                                          5    actual valuation of zero is reflected in the depressed market price immediately following
                                                          6    the TBIS fraud disclosure. Thus, anyone who purchased prior to the fraud disclosure
                                                          7    purchased at a price inflated due to the fraud and were damaged when their tokens’ price
                                                          8    to plummeted to zero (or near zero) subsequent to the fraud disclosure. See infra Fig.1.
                                                          9          However, certain Secondary Market Purchasers should be ineligible claimants
                                                          10   regardless of whether they continue to hold BAR or TBAR. Specifically, Purchasers of
                                                          11   BAR who purchased after the TBIS BAR disclamation announcement should be
                                                          12   ineligible, because TBIS publicly renounced the value of those tokens. Persons who
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                                                          13   acquired these worthless tokens after TBIS informed the public of their worthlessness
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                                                          14   did so at their own risk and not in reliance on any TBIS misrepresentations. Moreover,
                                                          15   any subsequent purchasers who sold prior to the fraud disclosure cannot have been
                                                          16   damaged by the TBIS fraud and thus should be ineligible claimants.
                                                          17         Therefore, the Receiver proposes that claimants be categorized as follows:
                                                          18      Claimant Type A: Creditors.
                                                          19      Claimant Type B: Direct Purchasers (i.e., acquired BAR or TBAR, constituting
                                                          20                         unregistered securities directly from TBIS).
                                                          21      Claimant Type C: Certain Secondary Market Purchasers of BAR. Persons that—
                                                          22         1.     Purchased BAR from third parties prior to Feb. 22, 2018;
                                                          23         2.     Held that BAR through Feb. 22, 2018;
                                                          24         3.     Received TBAR from TBIS by virtue of their BAR holdings; and
                                                          25         4.     Held that TBAR through May 29, 2018.
                                                          26      Claimant Type D: Certain Secondary Market Purchasers of TBAR. Persons that—
                                                          27         1.     Purchased TBAR from third parties prior to May 29, 2018; and
                                                          28
                                                                                                          7
                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 12 of 19 Page ID #:1824




                                                          1            2.      Held that TBAR through May 29, 2018.
                                                          2       Claimant Type E: Ineligible claimants that do not meet any of the above criteria.
                                                          3                             Examples of ineligible claimants are:
                                                          4            3.      Secondary Market Purchasers of BAR selling that BAR before Feb. 22,
                                                          5                    2018;
                                                          6            4.      Purchasers of BAR on or after Feb. 22, 2018;
                                                          7            5.      Purchasers of TBAR on or after May 29, 2018;
                                                          8            6.      Recipients of TBAR given by TBIS based on BAR acquired on or after
                                                          9                    Feb. 22, 2018; and
                                                          10           7.      Secondary Market Purchasers of BAR or TBAR selling their acquired
                                                          11                   TBAR before May 29, 2018.
                                                          12   A claimant may fit into multiple claimant types depending on their specific facts, and
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                                                          13   such claims will be apportioned accordingly for purposes of determining claim
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                                                          14   eligibility. Limiting eligible claimants to the above persons permits fair and reasonable
                                                          15   compensation to those whom TBIS is liable for selling unregistered securities and/or
                                                          16   damages causedby TBIS fraud; and accordingly, should be approved.
                                                          17      B.        Internet-based electronic notice is fair, reasonable, and comports with
                                                          18                due process for internet-based virtual token fraud victims.
                                                          19           The Receiver will provide notice to claimants of the claims process in order to
                                                          20   validate claims and identify the claimant class. The Receiver proposes using online,
                                                          21   electronic notice of the claims process using media similar to that which TBIS employed
                                                          22   to propagate its misrepresentations and effect its sale of unregistered securities.
                                                          23           A claims process must satisfy due process. Due process requires that a party must
                                                          24   receive notice “reasonably calculated, under all the circumstances, to apprise interested
                                                          25   parties of the pendency of the action.” Mullane v. Central Hanover Bank & Trust Co.,
                                                          26   339 U.S. 306, 314 (1950). Internet-based notice is suitable for apprising parties when
                                                          27   their involvement in a matter is predominantly internet based. See SEC v. Arisebank,
                                                          28
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 13 of 19 Page ID #:1825




                                                          1    No. 3:18-cv-00186-M , 2019 WL 1796170 (N.D.Tex. Jan. 29, 2019) (Receiver’s Motion
                                                          2    for Approval of Claims Process and Proposed Bar Date) and Docket No. 100, Order
                                                          3    Granting Motion (N.D. Tex. Feb. 1, 2019) (order approving claims process, notice
                                                          4    procedures, and bar date) (approving receiver’s electronic notice procedures for
                                                          5    claimants involved in an initial coin offering); see also Browning v. Yahoo! Inc.,
                                                          6    No. C04-01463, 2007 WL 4105971, at *4 (N.D. Cal. Nov. 16, 2007) (internet notice
                                                          7    “particularly suitable” where claims involved “visits to Defendants’ internet websites”);
                                                          8    Lundell v. Dell, Inc., No. CIVA C05-3970 JWRS, 2006 WL 3507938, at *1 (N.D. Cal.
                                                          9    Dec. 5, 2006) (electronically sent and internet-published notice satisfied due process).
                                                          10         Here, internet-based notice is appropriate because TBIS primarily interacted with
                                                          11   potential claimants via the internet. TBIS promoted its ICO through its website, internet
                                                          12   news sites, and social media. Investors purchased TBIS tokens through electronic means,
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                                                          13   including an internet-based smart contract that automatically exchanged virtual
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                                                          14   currencies for TBIS BAR tokens. Almost all investors contributed funds in the form of
                                                          15   internet-based cryptocurrencies. And the TBIS tokens themselves are entirely virtual.
                                                          16   For all practical purposes, access to, and familiarity with, the internet is a prerequisite to
                                                          17   owning virtual assets, like BAR and TBAR. Finally, specific investors are not
                                                          18   identifiable because almost all potential claimants are cloaked by blockchain-based
                                                          19   pseudonymity. Under these circumstances, the Court should find that internet-based
                                                          20   notice is the best method to reach TBIS claimants—claimants demonstrably accessing
                                                          21   the internet and involved in online cryptocurrency and crypto-investor communities.
                                                          22         The Receiver proposes multiple forms of notice. First, the Receiver should be
                                                          23   authorized to send email or mail notice to those potential claimants for whom the
                                                          24   Receiver has contact information; nearly 250 claimants have already submitted
                                                          25   preliminary claims. Second, the Receiver should be authorized to publish notice of the
                                                          26   claims process via the TBIS website (https://tbis.io/). Additionally, the Receiver should
                                                          27   be authorized to publish the notice via the same channels through which TBIS originally
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 14 of 19 Page ID #:1826




                                                          1    promoted its digital tokens: cryptocurrency and related online industry publications,
                                                          2    online discussion forums, Telegram, and Twitter.
                                                          3            The notice will include the following:
                                                          4            8.       An explanation of the TBIS fraud and circumstances under which it sold
                                                          5                     unregistered securities;
                                                          6            9.       An explanation of who is eligible for compensation and the claims process;
                                                          7            10.      The online portal web address for making a claim;
                                                          8            11.      The deadline for submitting a claim (the “Bar Date”);
                                                          9            12.      Copies of the court order approving the claims process and distribution
                                                          10                    plan; and
                                                          11           13.      An email address for correspondence to the Receiver.
                                                          12   If authorized, the content of the notice will be substantially similar to that in the attached
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                                                          13   example notice. See Exhibit A. This online notice process is fair and reasonable under
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                                                          14   the circumstances, comports with due process, and should be approved.
                                                          15      C.         Internet-based Claim Submission is Appropriate for Internet-based
                                                          16                 Activities.
                                                          17           The Receiver proposes receiving claims online, which is fair and reasonable given
                                                          18   the exclusively online nature of the fraud and virtual tokens. If authorized, the Receiver
                                                          19   will create a web portal for form-based submission. The process will validate claims and
                                                          20   provide notice to claimants of the status of their claims, including grounds for denial of a
                                                          21   claim, as appropriate. The web portal will include protections to prevent automated form
                                                          22   submission by bots and other techniques that could increase the number of false claims.
                                                          23   The Receiver will also establish an alternative means for filing claims for those
                                                          24   individuals who establish that they are not reasonably able to use the online submission
                                                          25   portal (e.g., government interference or censoring). Claimants requesting alternative
                                                          26   submission of claims will be instructed to contact the Receiver at tbis@hklaw.com.
                                                          27           The claims form will solicit sufficient information to communicate with
                                                          28
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 15 of 19 Page ID #:1827




                                                          1    claimants, validate claims, and conduct Office of Foreign Assets Control due diligence.
                                                          2    The Receiver will send all claimants confirmation of their successfully submitted claim.
                                                          3    For most claimants, the Receiver will be able to immediately determine the validity of
                                                          4    claims and inform claimants of their claim determination.
                                                          5            The claims form will also include certain consent and attestation provisions. First,
                                                          6    it will require consent to this Court’s exclusive jurisdiction for any disputes related to the
                                                          7    claims. Second, the form will require claimants attest to the truth and correctness of the
                                                          8    submitted information under penalty of perjury. Third, the form will require each
                                                          9    claimant release the Receiver, the Receivership Estate, and their agents from any claims
                                                          10   the claimant has or may assert in excess of any approved distribution of available
                                                          11   Receivership funds. This release will prevent a claimant from later contesting a Claim
                                                          12   Determination or amount after completing the objection process. A similar release was
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                                                          13   approved in a nearly identical case involving a receivership distributing funds to
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                                                          14   claimants. See SEC v. Arisebank, No. 3:18-cv-00186-M (N.D. Tex. Feb. 1, 2019) (order
                                                          15   approving claims process, notice procedures, and bar date). The content of the claims
                                                          16   form will be substantially similar to that in the attached example form and release. See
                                                          17   Exhibit B. This online, largely automated claims process will conserve Receivership
                                                          18   resources, is fair and reasonable, and should be approved.
                                                          19      D.      Validating Claims Using Blockchain Transactional Information is
                                                          20              Practicable, Efficient, and Accurate.
                                                          21   The Receiver proposes validating claims based on claimant submissions and blockchain
                                                          22   transactional data. TBIS conducted its ICO on the Ethereum Network, which is a
                                                          23   publicly-viewable online ledgers distributed among a global network of computers,
                                                          24   theoretically impervious to alteration, and an accurate and immutable transaction
                                                          25   archive. The Ethereum Network stores transactional information which the Receiver and
                                                          26   Counsel can use to help determine the validity of claims and eligibility of most
                                                          27   claimants. Using a web-based form will permit automated validation for many claims,
                                                          28
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 16 of 19 Page ID #:1828




                                                          1    and in some cases, even permit an immediate claim determination to be made for some
                                                          2    claimants. The web portal will also solicit additional information from claimants with
                                                          3    complicated transaction histories or involving cryptocurrency exchanges. However, the
                                                          4    information needed to determine a claimant’s eligibility is mostly available via the
                                                          5    Ethereum Network used by TBIS.
                                                          6            For example, the Receiver knows the transaction quantities, dates, senders, and
                                                          7    recipients of all BAR and TBAR issued by TBIS. Unfortunately, this information is also
                                                          8    available to anyone via that same blockchain, creating a risk that bad actors will attempt
                                                          9    to use this information to submit fraudulent claims. To prevent these sorts of fraudulent
                                                          10   or duplicative claims, the Receiver will verify a claimant’s control over an address using
                                                          11   a purpose-built Ethereum ERC-20 “control” token (the “Control Token”). After a
                                                          12   claimant enters sufficient information in the claims web portal, the Receiver will
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                                                          13   automatically send a Control Token to the claimant’s Ethereum address. The web portal
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                                                          14   will instruct the Claimant to prove control over the claimed address by sending the
                                                          15   Control Token back to the Receiver. Failure to prove control within a defined period will
                                                          16   result in an automatic emailed notice to the claimant, denying the claim and stating the
                                                          17   grounds for denial.
                                                          18      E.      Claimants Should have the Opportunity to Object to Claim
                                                          19              Determinations.
                                                          20           The Receiver proposes that each claimant be given 30 days from the date the
                                                          21   Receiver sends the Claim Determination to submit an objection. The objection should be
                                                          22   emailed to the Receiver at tbis@hklaw.com on or before 11:59 pm (PST) on the date that
                                                          23   is 30 days after the date the Receiver sent the Claim Determination, unless the Receiver
                                                          24   has agreed to an alternative means of claim submission for the objecting claimant. The
                                                          25   Receiver will receive and consider timely objections on a case-by-case basis and will
                                                          26   communicate any changes to the original Claim Determination in a timely manner.
                                                          27
                                                          28
                                                                                                          12
                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 17 of 19 Page ID #:1829




                                                          1       F.        Proposed timeline and 90-Day Claims Window.
                                                          2            In order to obtain certainty regarding the number and aggregate amount of
                                                          3    claims and to allow for a final distribution of all Receivership funds, the Receiver
                                                          4    proposes a claims Bar Date of 11:59 p.m. (Pacific Time) 90 calendar days following
                                                          5    publishing of the Claims Process Notice. An identical claims period was found
                                                          6    reasonable and fair in a similar case involving an unknown class of cryptocurrency
                                                          7    contributors. See Arisebank, No. 3:18-cv-00186-M, ECF No. 98. Except for claims
                                                          8    the Receiver has determined to be subject to an alternative method of submittal and
                                                          9    disposition, claims not properly submitted to the Receiver by the Bar Date will be
                                                          10   barred.
                                                          11      Accordingly, the Receiver proposes the following timeframe for implementing the
                                                          12   claims process:
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                                                          13
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                                                                               •Plan Approval
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                                                          14        Day 1
                                                                               •Receiver Develops and Tests Claims Web Portal

                                                          15
                                                          16                   •Web Portal Implemented
                                                                               •Claims Process and Distribution Plan Notice Published
                                                                   Day 30
                                                          17
                                                          18
                                                                               •Claims Window Closes
                                                          19       Day 120

                                                          20
                                                                               •Deadline to Cure Deficiencies
                                                          21                   •Receiver Completes Manual Claims Validation as Necessary
                                                                   Day 130     •Receiver Checks Validated Claimants Against OFAC's SDN List
                                                          22
                                                          23                   •Victims' Share Calculation Completed (subject to court approval)
                                                                               •Ether Purchased for Distribution (subject to court approval)
                                                          24       Day 135     •Victims' Compensation Distributed (subject to court approval)
                                                          25
                                                          26                   •Supplemental Distribution
                                                                 Dissolution
                                                          27
                                                          28
                                                                                                                       13
                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 18 of 19 Page ID #:1830




                                                          1       G.       Distribution of Assets
                                                          2            Before the Bar Date, the Receiver will propose a claimant compensation
                                                          3    distribution plan to be implemented after the Bar Date and after resolving all objections.
                                                          4    IV.     CONCLUSION
                                                          5            For the reasons stated above, the Receiver respectfully requests that the Court
                                                          6    enter an Order approving the following components of the claims process:
                                                          7          (i)   The eligible claimant classes;
                                                          8       (ii)     Method of notice;
                                                          9      (iii)     Method of receiving claims;
                                                          10     (iv)      Method of claim validation;
                                                          11         (v)   Method of handling claims determination objections;
                                                          12     (vi)      Bar Date and Claims Process timeframe; and
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                                                          13     (vii)     Directing such other and further relief as the Court deems appropriate.
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                                                          14
                                                          15   Dated: July 28, 2020.                     Respectfully submitted,
                                                          16
                                                          17                                             /s/ Kristina S. Azlin
                                                          18                                             Kristina S. Azlin
                                                                                                         Jose Casal (pro hac vice)
                                                          19
                                                                                                         Holland & Knight LLP
                                                          20
                                                                                                         Attorneys for Josias N. Dewey, Court-
                                                          21
                                                                                                         appointed Receiver for TBIS
                                                          22
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
                                                  Case 2:18-cv-04315-DSF-JPR Document 94 Filed 07/28/20 Page 19 of 19 Page ID #:1831




                                                          1
                                                                                               PROOF OF SERVICE
                                                          2
                                                                     I am employed in the County of Los Angeles, State of California. I am over the age
                                                          3
                                                               of 18 and not a party to the within action. My business address is 400 S. Hope Street, 8th
                                                          4
                                                               Floor, Los Angeles, CA 90071.
                                                          5
                                                                     On July 28, 2020, I served the document described as Receiver’s RECEIVER’S
                                                          6
                                                               NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLAIMS
                                                          7
                                                               PROCESS AND BAR DATE; [PROPOSED] ORDER on the interested parties in this
                                                          8
                                                               action as follows:
                                                          9
                                                          10
                                                                     [X] (BY Electronic Transfer to the CM/ECF System) In accordance
                                                          11         with Federal Rules of Civil Procedure 5(d)(3) and Local Rule 5-4, I
                                                                     uploaded via electronic transfer a true and correct copy scanned into an
                                                          12
                                                                     electronic file in Adobe “pdf” format of the above-listed document(s)
                       400 South Hope Street, 8th Floor




                                                          13         to the U.S. District Court Central District of California’s Electronic
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                                                                     Case Filing (CM/ECF) system on this date.
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                          14
                                                          15
                                                                     I declare under penalty of perjury under the laws of the United States of America
                                                          16
                                                               that the above is true and correct.
                                                          17
                                                          18
                                                          19   Executed on July 28, 2020, Los Angeles, California.

                                                          20                                         /s/Kristina S. Azlin
                                                          21                                         Kristina S. Azlin
                                                          22
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                                                                  RECEIVER’S MOTION FOR APPROVAL OF CLAIMS PROCESS AND BAR DATE
